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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


NICOLE CHASE                                  :      NO.: 3:18-cv-00683 (VLB)
                                              :
v.                                            :
                                              :
NODINE’S SMOKEHOUSE, INC., et al              :      NOVEMBER 4, 2019

                            NOTICE OF MANUAL FILING

      Please take notice that the plaintiff, Nicole Chase, has manually filed the

following items with the United States District Court for the District of Connecticut,

because they cannot be uploaded onto the Court's e-filing system for filing with

the Court: Exhibits J, O, and Q to the plaintiff’s Objection to the Motion for

Summary Judgment filed by Canton Police Defendants, dated October 1, 2019:

Thumb Drive containing Video Files of Nicole Chase (Front Lobby Videotape and

June 21,2017 interview), and the video interview of Calvin Nodine, May 18, 2017.

All parties have received copies of these video interviews.

                                       THE PLAINTIFF,
                                       NICOLE CHASE


                                       By:_ Lewis Chimes
                                       Lewis Chimes (Juris No. 07023)
                                       Mary-Kate Smith (Juris No.26820)
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                                                                       EXHIBIT 8
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                                         CERTIFICATION


        I HEREBY CERTIFY that on the 4th day of November, 2019 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by operation
of the court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the court’s CM/ECF System.
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                                                ___/s/ Lewis Chimes
                                                       Lewis Chimes




                                                                          EXHIBIT 8
